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                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH



 NOVELLA ATWOOD; CHRISTINE CID;
 CHERALEE ENGLAND; KATHLEEN GAGON; STIPULATED MOTION FOR
 KRISTEN PUERTAS; JANICE RANDALL; and EXTENSION OF TIME
 SARAH TYCHSEN, individually and on behalf of Case No. 1:24-cv-00046-AMA-PK
 all others similarly situated,
                                              Judge Tena Campbell
                          Plaintiffs,
                                              Magistrate Judge Daphne A. Oberg
         v.

 DOTDASH MEREDITH,
                        Defendant.


                                     STIPULATED MOTION

       By and through counsel, Plaintiffs Novella Atwood, Christine Cid, Cheralee England,

Kathleen Gagnon, Kristen Puertas, Janice Randall, and Sarah Tychsen (collectively “Plaintiffs”),

respectfully file this Stipulated Motion for an Extension of Time for Plaintiffs to respond to

Defendant’s Motion to Dismiss the First Amended Complaint, (ECF No. 22) and state as follows:

       Relief requested: Plaintiffs request, and Defendant does not oppose, a two-week

enlargement of time for Plaintiffs to file their opposition to Defendant’s Motion to Dismiss the
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First Amended Complaint (“FAC”).          (ECF No. 22).      Under DUCivR 7-1(1)(4) Plaintiffs’

opposition is presently due on September 20, 2024.

       Grounds: This is a putative class action that alleges that Defendant violated Utah’s Notice

of Intent to Sell Nonpublic Personal Information Act, Utah Code Ann. § 13-37-101, et. seq. (the

“NISNPIA”) by renting, selling, exchanging, and otherwise disclosing Nonpublic Personal

Information it obtained through its sales of publications to Utah consumers without first providing

consumers notice required under the NISNPIA statute. Defendant’s Motion to Dismiss the FAC

(ECF No. 23), filed on August 23, 2024, seeks dismissal of Plaintiffs’ claims on several grounds

– that Plaintiffs have failed to allege that Defendant is subject to NISNPIA, that Plaintiffs have

failed to allege that Defendant disclosed their information, that Platinffs’ claims are barred by the

statute of limitations, that Plaintiffs lack Article III standing, and the Court lacks subject matter

jurisdiction because NISNPIA bars federal class actions, among other reasons.

         Plaintiffs seek, and Defendant does not oppose, an additional two weeks to respond to

Defendant’s legal and factual arguments. Counsel requires additional time to prepare an opposition

that fully addresses Defendant’s multiple grounds for dismissal and while attending to obligations

in other cases. Accordingly, Plaintiffs respectfully request that the Court extend the due date for

Plaintiffs’ Opposition to the FAC to October 4, 2024.

Dated: September 19, 2024                             Respectfully submitted,
/s/ Kristen Rodriguez                                 /S/ David W. Scofield
Kristen Rodriguez (Pro Hac Vice)                      DAVID W. SCOFIELD – 4140
(signed by filing attorney with permission of         PETERS ‫ ٴ‬SCOFIELD
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